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Case 3:17-cr-00017-B Dog

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS cizki us sicrate
DALLAS DIVISION eRe.

UNITED STATES OF AMERICA
Vv.

ROBERTO OMAR VERA (1)
KAMERON PAUL VERA (2)
ROBERTO TREVIZO MUNOZ (3)
SIMON LOUIS TREVINO (4)
JORGE MORALES (5)
KNEELY DENAY ABADIE (6)
STEPHANIE JEAN ALDAVA (7)

aka STEPHANIE JEAN BRADLEY

aka STEPHANIE JEAN MAY

aka STEPHANIE JEAN BRISTOW
RODNEY ALLEN BROACH (8)
ANGELA DANIELLE BURKHAM (9)
ELIZABETH NEELY CAUSEY-ECK (10)
MARK ALLEN CRAVEN (11)
LAUREN ALLYSON CRITES (12)

aka LAUREN ALLYSON ANDERSON
CHARLEY SEAY CROSSLAND (13) |

aka CHARLEY DENISE SEAY
ARTHUR DANIEL CURRIE (14)

aka AQUAMAN
CAITLYN TAYLOR JOHNSON (15)
CHELSEA LORAINE JOHNSON (16)
ILONA KLONOWSHI KING (17)

aka ILONA KLONOWSKI BRAZEAL
LARRY RAY LINCKS (18)
DANIEL MOSS (19)
JOHN CRAIG OWEN (20)
CLISTY DIANE PRATT (21):

aka CLISTY DIANE BAKER
PAUL WADE SHREVES (22)
BRANDI SCOTT TURCOLA (23)

aka BRANDI SCOTT BLACKBURN

aka BRANDI SCOTT SMITH

Superseding Indictment — Page 1

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FILED UNDER SEAL Wh
DEPUTY CLERK CAL

NO. 3:17-CR-17

Supersedes Indictment returned on
January 10, 2017

Defendants are not listed in order of
culpability or hierarchy regarding
drug trafficking activities

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SUPERSEDING INDICTMENT
The Grand Jury charges:
Count One
Conspiracy to Possess with Intent to Distribute a Controlled Substance
[Violation of 21 U.S.C. § 846]

Between on or about January 1, 2016 and on or about February 22, 2017, in the
Dallas Division of the Northern District of Texas and elsewhere, the defendants, Roberto
Omar Vera, Kameron Paul Vera, Roberto Trevizo Munoz, Simon Louis Trevino,
Jorge Morales, Kneely Denay Abadie, Stephanie Jean Aldava, Rodney Allen Broach,
Angela Danielle Burkham, Elizabeth Neely Causey-Eck, Mark Allen Craven, Lauren
Allyson Crites, Charley Seay Crossland, Arthur Daniel Currie, Caitlyn Taylor
Johnson, Chelsea Loraine Johnson, Ilona Klonowshi King, Larry Ray Links, Daniel
Moss, John Craig Owen, Clisty Diane Pratt, Paul Wade Shreves, and Brandi Scott
Turcola knowingly and intentionally combined, conspired, confederated and agreed with
each other and with other persons known and unknown to the Grand Jury, to possess with
intent to distribute five hundred grams or more of a mixture or substance containing a
detectable amount of methamphetamine, a Schedule II controlled substance, in violation
of 21 U.S.C. § 841(a)(1) and (b)(I)(A).

All in violation of 21 U.S.C. § 846.

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Counts Two through Twenty-Six

Possession with Intent to Distribute a Controlled Substance
[Violation of 21 U.S.C. § 841(b)(1)(C)]

On or about the dates listed below, in the Dallas Division of the Northern District

of Texas and elsewhere, the defendants listed below, knowingly possessed with intent to

distribute a mixture or substance containing a detectable amount of methamphetamine, a

Schedule II controlled substance, in violation of 21 U.S.C. § 841(a)(1) & (b)(1)(C).

March 31, 2016

2 Roberto Omar Vera
3 Kameron Paul Vera May 9, 2016
4 Roberto Trevizo Munoz December 1, 2016
5 Roberto Trevizo Munoz January 5, 2017
6 Simon Louis Trevino October 21, 2016
7 Simon Louis Trevino December 2, 2016
8 Jorge Morales December 20, 2016
9 Kneely Denay Abadie June 2015
10 {Stephanie Jean Aldava December 2014 to October 2016
11 _|Rodney Allen Broach September 14, 2015 to Sepember 14, 2016
12 _|Angela Danielle Burkham January 2016 to October 2016
13. |Elizabeth Neely Causey-Eck | September 8, 2016
14 |Mark Allen Craven January to August 2016
15 {Lauren Allyson Crites January 2016 to July 2016
16 _|Charley Seay Crossland March 2016 to October 2016
17 {Arthur Daniel Currie January 2016 to June 2016
18 {Caitlin Taylor Johnson February 2016 to December 2016
19 |Chelsea Loraine Johnson July to November 2016
20 — {Illona Klonowshi King Brazeal | January 2016 to September 2016
21 _|Larry Ray Lincks March 2016 to September 2016
22  |Daniel Moss June 23, 2016
23. |John Craig Owen January 2016 to August 2016
24  |Clisty Diane Pratt June 2016 to July 2016
25 |Paul Wade Shreves January to October 2016
26 _|Brandi Scott Turcola January 2016 - August 2016

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Count Twenty-Seven
Possession with Intent to Distribute a Controlled Substance
[Violation of 21 U.S.C. § 841(b)(1)(C)]

On or about March 31, 2016, in the Dallas Division of the Northern District of Texas
and elsewhere, Roberto Omar Vera, knowingly possessed with intent to distribute a

mixture or substance containing a detectable amount of heroin, a Schedule I controlled

substance, in violation of 21 U.S.C. § 841(a)(1) & (b)(1)(C).

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Count Twenty-Eight
Possession with Intent to Distribute a Controlled Substance
[Violation of 21 U.S.C. § 841(b)(1)(C)]

Between on or about March 17, 2016, and on or about May 9, 2016, in the Dallas
Division of the Northern District of Texas and elsewhere, Kameron Paul Vera, knowingly
possessed with intent to distribute a mixture or substance containing a detectable amount
of heroin, a Schedule I controlled substance, in violation of 21 U.S.C. § 841(a)(1) &

(b)C1)(C).

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Count Twenty-Nine
Possession of a Firearm by a Felon
[Violation of 18 U.S.C. §§ 922(g)(1) and 924(a)(2)]

On or about December 28, 2016, in the Dallas Division of the Northern District of
Texas, the defendant, Roberto Omar Vera, having been convicted of a crime punishable
by imprisonment for a term exceeding one year, did knowingly possess in and affecting
interstate commerce a firearm, that is (1) a Ruger Sturm, Model P89, 9 mm, and (2) a Smith

& Wesson, model Mp9, Shield 9 mm, in violation of 18 U.S.C. §§ 922(g)(1) and 924(a)(2).

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Count Thirty
Possession of a Firearm by a Felon

[Violation of 18 U.S.C. §§ 922(g)(1) and 924(a)(2)]

On or about September 1, 2016, in the Dallas Division of the Northern District of
Texas, the defendant, Larry Ray Lincks, having been convicted of a crime punishable by
imprisonment for a term exceeding one year, did knowingly possess in and affecting
interstate commerce a firearm, that is a Taurus 9mm Handgun (S/N: TEP98221), in

violation of 18 U.S.C. §§ 922(g)(1) and 924(a)(2).

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Forfeiture Notice
[21 U.S.C. § 853(a); 18 U.S.C. § 924(d); 28 U.S.C. § 2461(c)]

The allegations contained in Counts 1 through 30 of this Superseding Indictment
are hereby re-alleged and incorporated by reference for the purpose of alleging forfeitures
pursuant to Title 21, United States Code, Section 853.

Upon conviction for any of Counts One through Twenty-Eight of this Indictment
and pursuant to 21 U.S.C. § 853(a), the defendants, Roberto Omar Vera, Kameron Paul
Vera, Roberto Trevizo Munoz, Simon Louis Trevino, Jorge Morales, Kneely Denay
Abadie, Stephanie Jean Aldava, Rodney Allen Broach, Angela Danielle Burkham,
Elizabeth Neely Causey-Eck, Mark Allen Craven, Lauren Allyson Crites, Charley
Seay Crossland, Arthur Daniel Currie, Caitlyn Taylor Johnson, Chelsea Loraine
Johnson, Ilona Klonowshi King, Larry Ray Links, Daniel Moss, John Craig Owen,
Clisty Diane Pratt, Paul Wade Shreves, and Brandi Scott Turcola, shall forfeit to the
United States of America all property, real or personal, constituting, or derived from, the
proceeds obtained, directly or indirectly, as a result of the respective offense; and any
property, real or personal, used or intended to be used, in any manner or part, to commit or
facilitate the commission of the respective offense.

The allegations contained in Counts Twenty-Nine and Thirty of this Superseding
Indictment are hereby re-alleged and incorporated by reference for the purpose of alleging
forfeitures pursuant to Title 18, United States Code, Section 924(d) and Title 28, United
States Code, Section 2461(c).

Upon conviction for the offenses alleged in Count 30 of this Superseding Indictment

and pursuant to 18 U.S.C. § 924(d) and 28 U.S.C. § 2461(c), the defendants, Roberto

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Omar Vera and Larry Ray Links, shall forfeit to the United States of America all

property, real or personal, constituting, or derived from, the proceeds obtained, directly or

indirectly, as a result of the offense; and any property, real or personal, used or intended to

be used, in any manner or part, to commit or facilitate the commission of the offense.

Specifically, this includes $6,642 in cash (as to Vera) and the following firearms:

a Ruger Sturm, Model P89, 9 mm, serial number 305-96954 (as to Vera),
a Smith & Wesson, model Mp9, Shield 9 mm, serial number HUN61 18 (as to Vera),

a Sturm, Ruger, and Co. Inc. model P94 [P944] pistol, .40 caliber, serial number
341-02043 (as to Vera),

Charter Arms Corporation model undercover revolver, .38 special caliber, serial
number 528583 (as to Vera),

Diamondback Firearms model DB380 pistol, .380 Auto caliber, serial number
ZH1208, (as to Vera),

Taurus 9mm Handgun, serial number TEP98221 (as to Lincks), and

Ammunition found connected to the above named firearms (as to both Vera and
Lincks).

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IN THE UNITED STATES DISTRICT COURT
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DALLAS DIVISION

THE UNITED STATES OF AMERICA

Vv.

ROBERTO OMAR VERA (1), KAMERON PAUL VERA (2),
ROBERTO TREVIZO MUNOZ (3), SIMON LOUIS TREVINO (4),
JORGE MORALES (5), KNEELY DENAY ABADIE (6),
STEPHANIE JEAN ALDAVA (7) aka STEPHANIE JEAN BRADLEY
aka STEPHANIE JEAN MAY, aka STEPHANIE JEAN BRISTOW
RODNEY ALLEN BROACH (8), ANGELA DANIELLE BURKHAM (9)
ELIZABETH NEELY CAUSEY-ECK (10), MARK ALLEN CRAVEN (11)
LAUREN ALLYSON CRITES (12), aka LAUREN ALLYSON ANDERSON
CHARLEY SEAY CROSSLAND (13), aka CHARLEY DENISE SEAY
ARTHUR DANIEL CURRIE (14), aka AQUAMAN, CAITLIN TAYLOR
JOHNSON (15), CHELSEA LORAINE JOHNSON (16),

ILLONA KLONOWSHI KING (17), aka ILLONA KLONOWSKI BRAZEAL
LARRY RAY LINCKS (18), DANIEL MOSS (19), JOHN CRAIG OWEN (20)
CLISTY DIANE PRATT (21), aka CLISTY DIANE BAKER,

PAUL WADE SHREVES (22), BRANDI SCOTT TURCOLA (23), aka BRANDI
SCOTT BLACKBURN aka BRANDI SCOTT SMITH

INDICTMENT

21 U.S.C. § 846
Conspiracy to Possess with Intent to Distribute a Controlled Substance

21 U.S.C. § 841(b)(1)(C)
Possession with Intent to Distribute a Controlled Substance

18 U.S.C. §§ 922(g)(1) and 924 (a)(2)
Possession of a Firearm by a Felon

21 U.S.C. § 853(a)
Forfeiture Notice

30 Counts
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A true bill rendered

DALLAS FOREPERSON

Filed in open court this 22nd day of February, 2017.

Warrant to be Issued KNEELY DENAY ABADIE (6), STEPHANIE JEAN
ALDAVA (7) aka STEPHANIE JEAN BRADLEY aka STEPHANIE JEAN MAY, aka
STEPHANIE JEAN BRISTOW, RODNEY ALLEN BROACH (8), ANGELA
DANIELLE BURKHAM (9), ELIZABETH NEELY CAUSEY-ECK (10), MARK
ALLEN CRAVEN (11), LAUREN ALLYSON CRITES (12), aka LAUREN
ALLYSON ANDERSON, CHARLEY SEAY CROSSLAND (13), aka CHARLEY
DENISE SEAY, ARTHUR DANIEL CURRIE (14), aka AQUAMAN, CAITLIN
TAYLOR JOHNSON(15), CHELSEA LORAINE JOHNSON (16), DULONA
KLONOWSHI KING (17), aka ILLONA KLONOWSKI BRAZEAL, LARRY RAY
LINCKS (18), DANIEL MOSS (19), JOHN CRAIG OWEN (20), CLISTY DIANE
PRATT (21), aka CLISTY DIANE BAKER, PAUL WADE SHREVES (22), BRANDI
SCOTT TURCOLA (23), aka BRANDI SCOTT BLACKBURN aka BRANDI SCOTT
SMITH

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UNITED STATES MAGISTRATE TYDGE
Criminal No. 3:17-CR-17

